838 F.2d 1209Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Charles Lee DUDONIS, Petitioner-Appellant,v.STATE of MARYLAND, Respondent-Appellee.
    No. 87-6702.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Dec. 30, 1987.Decided:  Feb. 3, 1988.
    
      Charles Lee DuDonis, appellant pro se.
      J. Joseph Curran, Jr., Attorney General, Mary Ellen Barbera, Assistant Attorney General, for appellee.
      Before DONALD RUSSELL and SPROUSE, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that an appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 would be without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  DuDonis v. State of Maryland, C/A No. 87-1418-JFM (D.Md. Oct. 26, 1987).  The motion for appointment of counsel is denied.
    
    
      2
      DISMISSED.
    
    